Case 2:13-cr-06070-SAB ECF No. 16

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filed 12/10/13

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FILED IN THE
US. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

NEC 10 2815

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SEAN F McA CHEE PSTY
VARIMA, WASHINGTON

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,

Plaintiff,

VS.
KENNETH RICHARD ROWELL,

Defendant.

The Grand Jury charges:

CR-13-6070-WEN

INDICTMENT

Ct. 1: 21 U.S.C. § 841 (a)(1) -
Distribution of a Controlled
Substance- Methamphetamine

Notice of Criminal Forfeiture

COUNT ONE

On or about April 11, 2013, in the Eastern District of Washington, the

Defendant, KENNETH RICHARD ROWELL, did knowingly and intentionally

distribute 5 grams or more of actual methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1) and

(b)(1)(B viii).

INDICTMENT

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NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS
Controlled Substance Violations

The allegations contained in Count One of this Indictment are hereby realleged
and incorporated by reference for the purpose of alleging forfeitures pursuant to Title
21, United States Code, Section 853.

Pursuant to Title 21, United States Code, Section 853, upon conviction of an
offense in violation of Title 21, United States Code, Section 841(a)(1), the Defendant,
KENNETH RICHARD ROWELL, shall forfeit to the United States of America, any
property constituting, or derived from, any proceeds obtained, directly or indirectly, as
the result of such offense(s) and any property used or intended to be used, in any
manner or part, to commit or to facilitate the commission of the offense(s).

If any forfeitable property, as a result of any act or omission of the Defendant:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be divided without

difficulty;

INDICTMENT 2

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the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p).

DATED: December 10, 2013.
A TRUE BILL

Foreperson

MICHAEL C. ORMSBY
United States Attorney

oN
SHISWI'N, ANDERSON

Supervisory, Assist a States Attorney

EX ANDER C. EKSTROM —
Assistant United States Attorney

INDICTMENT

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